












Dismissed and Memorandum Opinion filed March 10, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-01130-CV

____________

&nbsp;

IN THE INTEREST OF K.M.R.C. AKA K.M.C., a Child

&nbsp;

&nbsp;



On Appeal from the 313th District Court

Harris County, Texas

Trial Court Cause No. 2009-06285J



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed October 20, 2010.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On January 27, 2011, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

PER CURIAM

Panel consists of Chief Justice
Hedges and Justices Frost and Christopher.





